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 6
                                  UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
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 9
     UNITED STATES OF AMERICA,         )
10                                     )
               Plaintiff,              )
11                                     )
   vs.                                 )                 2:11-cr-048-JCM-LRL
12                                     )
   BURGOS, et al.,                     )
13                                     )
               Defendant.              )                        ORDER
14 ____________________________________)
15
                    The above entitled matter is HEREBY REFERRED to Magistrate Judge Leavitt for
16
     all matters concerning budgetary issues and voucher approvals submitted pursuant to the Criminal
17
     Justice Act.
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                    DATED this 14th day of March, 2011.
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                                                         _____________________________________
21                                                       JAMES C. MAHAN
                                                         UNITED STATES DISTRICT JUDGE
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